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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov

 In re:

    YURI LYUBARSKY and                             Case No: 18-16659-LMI
    OLGA LYUBARSKY                                 Chapter 7

      Debtors.
 ____________________________________/

      DEBTORS’ MOTION FOR ENFORCEMENT OF THE AUTOMATIC STAY,
   SANCTIONS AGAINST VERTONIX LTD AND ITS COUNSEL ARKADY “ERIC”
                          RAYZ FOR FRAUD ON THE COURT AND
          CONTEMPT FOR WILLFUL VIOLATIONS OF THE AUTOMATIC STAY



          Debtors, Yuri Lyubarsky and Olga Lyubarsky ("Debtors"), through undersigned counsel,

request that the Court enter an order awarding damages pursuant to Sections 362(k)(1) and 105 of

the Bankruptcy Code and imposing sanctions pursuant to Rules 9011 and 9020 of the Federal

Rules of Bankruptcy Procedure, against Creditor Vertonix Ltd (“Vertonix”) and its counsel, Eric

Rayz, Esq. (“Mr. Rayz”)

          This motion (“Sanctions Motion”) is filed concurrently with Debtors’ Reply (“Reply”) to

Creditor Vertonix Ltd’s Response (“Response”, [#54]) in Opposition to Debtors’ Objection

(“Objection”, [#47]) to Vertonix Ltd’s Proof of Claim (“POC”, [POC-2]).

          The content of this Sanctions Motion is an integral part of the concurrently filed Reply,

wherein this Sanctions Motion is incorporated by reference. This incorporation is done in the

interest of judicial economy because the facts, procedural history and most arguments of this

Sanctions Motion and of the Reply are nearly identical.
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       Introduction



       This Motion will assert that Vertonix, by and through their attorney Arkadiy “Eric” Rayz

committed a willful and outrageous violation of the automatic stay by trying to extort $250,000

from Debtors, and then perpetrated fraud on the court by submitting (under oath by Mr. Rayz) a

grossly inflated POC containing at least one significant bogus component (while knowingly and

purposefully withholding a document proving beyond doubt the component is bogus).




       Principal Sanctionable Actions

       The principal two sanctionable actions that are the subject of this Sanctions Motion are:

       1.     An egregious willful violation of the automatic stay by Vertonix and its counsel

              Eric Rays: an attempt to obtain a $250,000 direct payment from Debtors under

              threat of reporting their purported misdeeds to the US Attorney and the

              Chapter 7 Trustee.

                      This relates to a now fully admitted and documented extortionate attempt

              by Vertonix and its counsel Mr. Rayz, to force a $250,000 payment from Debtors

              in the early stages of these bankruptcy proceedings. These actions are described in

              detail in the Declaration of undersigned counsel which is attached as Exhibit A

              hereto, and in further parts of this Sanctions Motion.

                      In its effort to force an immediate payment from Debtors, Vertonix and its

              counsel Eric Rayz blatantly disregarded one of the chief tenets and purposes of the

              personal bankruptcy process, which is to protect individual debtors from aggressive
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                  collection efforts by creditors (or, for that matter, from any collection efforts at all)

                  while their bankruptcy petition is being considered. Indeed, the principal purpose

                  of the present Debtors’ bankruptcy petition was to protect themselves from this

                  exact type of conduct by this exact creditor and this exact counsel.

                           The effort by Vertonix was particularly egregious in this case because it not

                  only demanded payment (in an amount far exceeding the outstanding judgment in

                  Pennsylvania), but also threatened, by and through Eric Rayz, severe repercussions

                  to Debtors if they did not comply immediately.

                           Specifically, as evidenced by Exhibit A, on June 21, 2018, Mr. Rayz

                  claimed to have evidence of Debtors’ assets not included in their Petition and

                  threatened to report this to the Trustee and US Attorney unless Debtors made an

                  immediate $250,000 payment to Vertonix 1.

                           For purposes of the automatic stay violation., it is irrelevant whether Mr.

                  Rayz’ claims about the Debtors assets were true. Indeed, if Mr. Rayz’ allegations

                  were true, (which he clearly believed at the time and confirmed afterwards by e-

                  mail, see Exhibit A3) his demand for payment was even more egregious.

                  Specifically, the demand for payment in exchange for non-reporting of Debtors’

                  allegedly criminal conduct to the US Attorney falls squarely under 18 U.S.C. § 873

                  which states, “Whoever, under a threat of informing, or as a consideration for not



1
  The claims by Mr. Rayz of inaccuracy of Debtors’ Petition are of course disputed by Debtors, and these issues
have now been settled between the Trustee and Debtors, together with the Trustee’s objection to disability policy
exemptions claimed by Debtors and the issue of a purported judicial lien against disability policies. Specifically, as
can be seen from Trustee’s Motion to Compromise Controversy [#65], the Debtors have agreed to use their
disability proceeds to pay an amount equal to the appraised value of Debtors’ declared assets, plus a portion of the
accrued disability benefits, in exchange for a release of all known claims relating to their assets, a release of the
judicial lien on disability policies, and an withdrawal of Trustee’s objections to the exempt status of disability and
life policies.
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informing, against any violation of any law of the United States, demands or

receives any money or other valuable thing, shall be fined under this title or

imprisoned not more than one year, or both”. It is hard to see any difference

between the actions of Mr. Rayz and conduct describe by 18 U.S.C. § 873.

        It is further noted that in exchange for his non-reporting the Debtors’ alleged

misconduct to the Trustee and the US Attorney, Vertonix was demanding a

payment of $250,000.00, far in excess of the amount outstanding under the

Pennsylvania judgment, which was $141,102.71 plus 6% interest for about 2 years.

In other words, Vertonix was attempting to collect a premium above the actual debt

amount in exchange for non-reporting of a purported criminal violation.

        The threat against Debtors was made by Vertonix, by and through Mr. Rayz,

with the full knowledge (from prior proceedings, including those involving Yuri

Lyubarsky’s disability benefits policy) that Debtor Yuri Lyubarsky suffered from

a debilitating psychiatric condition, known as severe panic disorder, that was so

serious that it had caused Mr. Lyubarsky to be declared disabled a decade ago, and

has since required multiple hospitalizations and a regular medication regimen.

        The threat resulted in an exacerbation of Mr. Lyubarsky’s medical condition

and made his and his wife’s lives miserable since June 21, 2018. A full reading of

Mr. Lyubarsky’s declaration attached hereto as Exhibit C is needed to understand

the full effect of the violations committed by Vertonix against Debtors. Rather than

quote excerpts from Exhibit C here, Debtors and this counsel request that the court

read Exhibit C in its entirety.
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2.   Fraud on the Court: (a) the filing by Mr. Rayz of a grossly inflated Proof of

     Claim that purposefully withheld facts and documents demonstrating a much

     lower claim amount; and, more egregiously, (b) the subsequent submission by

     Mr. Rayz of a knowingly false calculation of the amount of Proof of Claim

     while purposefully withholding Pennsylvania court documents demonstrating

     the falsity of such calculation.

            a.      The Filing of a Purposefully Inflated Proof of Claim.

                           The initial Proof of Claim in the amount of $400,000.00

                    [POC 2] included a copy of the February 2011 (7+ years old)

                    judgment for $184,269.19.

                           The POC was verified under oath by Rayz on behalf of

                    Vertonix.

                           Withheld from the 88-page POC filing were any records

                    related to (or any other mention of) a $175,000.00 payment made in

                    2013 (i.e. subsequent to the $184,269.19 judgment), as well as a

                    much more recent court order entered on July 7, 2016 reassessing

                    the damages in the amount of $141,102.71 plus 6% interest from

                    July 7, 2016. The $141,102.71 order is attached as Exhibit B4 to

                    Exhibit B hereto, the Declaration of Marina Kats, Esq.
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      b.   The filing of a false calculation including a bogus $96,800

           component in order to justify the previously inflated $400,000 claim

           amount.

                    When challenged by Debtors through their Objection to the

           POC, Vertonix, by its Response filing supported by Mr. Rayz’

           sworn declaration, finally produced the missing document

           evidencing the lower $141,102.71 amount as part of a 279-

           pagesubmission. Mr. Rayz also admitted receiving the $175,000

           payment any mention of which was withheld from the original POC.

                    However, in the Response filing, verified by Mr. Rayz under

           oath on behalf of Vertonix, Mr. Rayz alleged that since July 7, 2016,

           the $141,102.71 award turned into $432,128.50, a more than 3-fold

           increase (see Response ¶210):

                           Principal Amount Due:         $141,102.71
                           Interest (as of 12/27/2018): $22,452.73
                           Sanctions (as of 12/27/2018): $96,800.00
                           Costs:                        $3,905.03
                           Attorneys’ Fees:              $168,075.00
                                   TOTAL DUE:            $432,128.50

                    Crucially for the purposes of this Sanctions Motion, Mr.

           Rayz claimed that this 3-fold increase happened in part because of

           $96,800 in sanctions accrued in Pennsylvania under a 2012

           sanctions order against the Defendants [Response, ¶¶48-49, ¶¶189-

           191, ¶210].

                    The above calculation, presented by Vertonix’s counsel

           under oath to this Court, was false and a fraud on this Court
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           and Debtors, particularly with respect to the $96,800 purported

           sanctions. This falsity is at the heart of the second sanctionable

           action by Mr. Rayz that is alleged by Debtors in the present

           Sanctions Motion.

                    The $100/day sanctions had already been denied by the

           Pennsylvania court. To wit, Vertonix had already tried to collect

           $135,300 worth of the same $100/day sanctions in Pennsylvania in

           2016 (representing sanctions from 2012 to 2016), and those exact

           $100/day sanctions were expressly denied by the Pennsylvania court

           when it issued its 2016 order reassessing damages at $141,102.71.

           Specifically, on May 3, 2016, Vertonix filed a Motion to Reassess

           Damages, a copy of which is attached as Exhibit B2, which included

           a request for $135,300 in sanction sunder the 2012 sanctions order.

           The amount of $135,300 was rejected by the Pennsylvania court in

           its $141,102.71 ruling, a copy of which is attached as Exhibit D2.

                    However, no mention of this was made in the pleadings and

           documents submitted by Vertonix’s counsel in this Court, and the

           one key document proving this was missing from the voluminous

           and otherwise very detailed 279-page Response containing dozens

           of exhibits.

                    It is particularly curious that Vertonix and Rayz claim that

           the sanctions are due and owing starting on May 3, 2016, about 2

           months before July 7, 2016, the day they were denied by the
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           Pennsylvania court (Response, ¶191). What Vertonix and Rayz

           withheld from this court was their own Motion to Reassess Damages

           dated the same day, May 3, 2016, in which it made the request to

           award sanctions that was denied on July 7, 2016.

                    Please see a Declaration of Marina Kats, Esq., counsel for

           Debtors in the Pennsylvania proceedings, attached as Exhibit B

           hereto, along with Exhibits B1-B4 which contain the requisite

           rulings.

                    No new orders for sanctions were issued after July 7, 2016,

           the date on which sanctions under the previous order were expressly

           denied (or after May 3, 2016, the date on which Vertonix filed its

           Motion to Reassess Damages).

                    The inclusion of the $96,800 in bogus sanctions, and the

           purposeful withholding of the document showing that the same

           sanctions were included in a prior calculation and were rejected by

           the Pennsylvania court, is fraud on this Court.

                    Adding insult to injury, in footnote 20 to paragraph 190 of

           the Response, Mr. Rayz feigns surprise that “neither Debtors nor

           their Counsel even bother to address the monetary sanctions in the

           Objection.” This is written by counsel who knows full well the

           sanctions had been denied in 2016 but assumes that neither Debtors

           nor their counsel know about this.

                    .
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                                             .

                                             .



         Relevant Proceedings and Events

         Below is a short list of proceedings in Pennsylvania and before this Court which are

relevant to the content and context of the present Sanctions Motion and the related and separately

filed Reply. Unless otherwise specified, none of the information below is in dispute between

Vertonix and Debtors.

         A. Relevant Procedural and Factual History – Pennsylvania Proceedings 2

         1.       On February 24, 2011, Vertonix obtained a $184,264.19 judgment by confession

                  against Debtors (“Original Judgment”, see Response ¶33).

         2.       On July 20, 2012, Debtors were ordered to respond to Vertonix’s discovery requests

                  or pay $100/day in sanctions (“Discovery Order”, see Response ¶48).

         3.       In April of 2013, Vertonix received a $175,000 payment (see Response ¶41). This

                  payment was not included in the POC and was only acknowledged in the Response.

         4.       On May 3, 2016, Vertonix filed a 37-page Motion to Reassess Damages. Crucially

                  to the present Motion for Sanctions, unlike virtually all other court documents

                  mentioned in the POC and the Response, a copy of this motion was

                  inexplicably (and, Debtors submit, purposefully) withheld from the Response.

                  A true copy of Vertonix’s Motion to Reassess Damages is attached as Exhibit B2



2
  With the exception of one filing in the Pennsylvania proceedings, which was recently discovered by Debtors’
counsel, the existence of all records described below are undisputed and are now included in both Vertonix’s and
Debtors’ filings in these bankruptcy proceedings. The penultimate factual event is undisputed. The last factual event
is disputed by Debtors and their Pennsylvania counsel. A declaration of Marina Kats, Esq., is attached to this Motion
as Exhibit B and includes further Exhibits B1-B4 which are cited in this procedural history and more fully described
in Exhibit B.
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     hereto. As can be seen, to justify an award of $276,402.71, Vertonix requested

     $135,300.00 in sanctions purportedly owed under the Discovery Order (see Exhibit

     B1, ¶25 and ¶28, with relevant parts highlighted). In the Response and the Rayz

     Declaration attached thereto, Vertonix’s counsel omits any mention that the

     $100/day sanctions were part of this Motion to Reassess Damages.

5.   On July 1, 2016, a recently hired counsel for Debtors (who had been acting pro se

     until April 2016) filed a short Response to Plaintiff’s Motion to Reassess

     [Damages], a true copy of which is attached as Exhibit B3 hereto. As can be seen,

     this response principally challenged the propriety of the $100/day sanctions for

     non-compliance with the Discovery Order. In the Response and the Rayz

     Declaration attached thereto, Mr. Rayz omits any mention that Debtors were

     contesting the $100/day sanctions back in 2016.

6.   On July 7, 2016, the Pennsylvania Court issued an order reassessing damages

     (“Updated Judgment”, Exhibit B4). The court crossed out the amount of

     $276,402.71 requested by Vertonix and entered $141,102.71 instead. The

     difference of $135,300.00, expressly denied by the court, was the entire amount

     of sanctions Vertonix had requested. Accordingly, on July 7, 2016 the

     Pennsylvania Court expressly denied to award Vertonix any sanctions under the

     Discovery Order. The Updated Judgment was not included in the POC. It was only

     disclosed in the Response after Debtors filed their Objection. Conspicuously, no

     explanation was ever provided in the Response for the $135,300.00 difference

     between $276,402.71 and $141,102.71.
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         7.       In May 2017, Debtors made an offer to Vertonix’s counsel settle the matter for

                  $80,000. This is undisputed. (see Response ¶79)

         8.       Vertonix’s counsel claims that shortly after April 11, 2018, “the Debtors’

                  Pennsylvania counsel called my office to again communicate the Debtors’ offer of

                  $80,000.00.” (see Affidavit of Eric Rayz, Exhibit 3 to the Response, ¶132).

                  Debtors’ Pennsylvania counsel denies ever making such a call (see Declaration of

                  Marina Kats, Esq. attached hereto as Exhibit B, ¶¶13-19). Debtors also deny ever

                  making or authorizing any offers in 2018 (see Exhibit C, ¶43). In general, however,

                  it is irrelevant for purposes of post-bankruptcy violations of the automatic stay

                  whether any offers were made pre-bankruptcy 3.

         B. Relevant Procedural and Factual History – Present Bankruptcy Proceedings 4

         1.       On May 31, 2018, Debtors filed their petition under Chapter 7 (“Petition”).

         2.       In June 2018, Mr. Rayz made a demand on Debtors for an immediate payment of

                  $250,000 to Vertonix, accompanied with a threat of release of information that

                  could result in criminal prosecution and other grave ramifications for Debtors if

                  they did not comply:

                  a. Around mid-June 2018, Vertonix’s counsel requested a meeting with Debtors’

                      counsel in Florida. This is undisputed.



3
  Even if hypothetically Mr. Rayz received a pre-bankruptcy call from Debtors’ counsel as he purports, it would
have been a pre-bankruptcy offer that predated the May 31, 2018 Petition. There are no exceptions to bankruptcy
law, no “preferences through the automatic stay”, allowing post-bankruptcy demands to be made by creditors
demanding direct payment from debtors on the basis of alleged pre-bankruptcy settlement discussions. The
suggestion by Mr. Rayz that his demand was permissible because it was a “counter-offer” is preposterous. If this
was indeed permissible, the automatic stay would be rendered meaningless, as a large number of creditors would be
able to continue to try to collect directly against debtors under the guise of making “counter-offers”.
4
  In addition to procedural history which is a matter of record, item 2 below a description of an out-of-court event
the which is undisputed, except that Vertonix’s counsel’s version of these facts is less detailed than Debtors’
counsel. In particular, Mr. Rayz fails to mention the threats he made if his demands were not met.
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     b. On June 21, 2018, Vertonix’s Pennsylvania counsel visited the Florida offices

        of Debtors’ counsel and demanded a payment of $250,000 to satisfy Debtors’

        liability to Vertonix and avoid the prosecution of Vertonix’s claim by Vertonix

        in these bankruptcy proceedings (“Payment Demand Meeting”). Attached as

        Exhibit A is this counsel’s declaration about the Payment Demand Meeting,

        which describes the threats made by Mr. Rayz and the 4-day “next Monday”

        deadline imposed by Mr. Rayz on the $250,000 payment he tried to obtain from

        Debtors. The Payment Demand Meeting, the $250,000 amount of the demand

        and the 4-day deadline are confirmed by Vertonix’s counsel in the Response

        (see Response, ¶¶106-113), his declaration (see Rayz Declaration, ¶¶135-142)

        and communications with Debtors’ counsel attached as Exhibit A3.

     c. Debtors refused to consider the $250,000 demand which they deemed

        extortionate and in violation of the automatic stay.

3.   On July 10, 2018, Vertonix filed its Proof of Claim [POC 2] (“POC”) alleging to

     be owed $400,000.00. The POC included a copy of a 2011 judgment for

     $184,296.19 (“Original Judgment”). The 88-page POC included no record of a

     $175,000.00 payment received by Vertonix since the entry of the Original

     Judgment, nor included a subsequent court order reassessing these damages as of a

     much later date, July 7, 2016, at $141,102.71 plus 6% interest therefrom (“Revised

     Judgment”). The POC was verified under penalty of perjury by Mr. Rayz. The

     verification included the following language:

            I understand that an authorized signature on this Proof of Claim
            serves as an acknowledgment that when calculating the amount of
            the claim, the creditor gave the debtor credit for any payments
            received toward the debt. I have examined the information in this
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             Proof of Claim and have a reasonable belief that the information is
             true and correct. I declare under penalty of perjury that the
             foregoing is true and correct. (Emphasis added)


4.    On December 2, 2018, Debtors filed their Objection to Vertonix’s Proof of Claim

      [#47] (“Objection”). As part of the Objection, the Debtors pointed to the misleading

      way in which the POC was filed, described the $175,000.00 payment, and attached

      a copy the Revised Judgment (see Exhibit A5 to the Objection, also included as

      Exhibit B4 hereto).

5.    On January 2, 2019, Vertonix filed their Response in Opposition to Debtor’s

      Objection [#54] (“Response”), again verified by Mr. Rayz on behalf of Vertonix.

      The Response included 279 pages of pleadings and exhibits, including an affidavit

      by Vertonix’s counsel. This time the $175,000 payment and the Revised Judgment

      were acknowledged, but Vertonix claimed that notwithstanding the language of the

      Revised Judgment, it was entitled to over $170,000 in legal fees and costs.

6.    In the Rayz Declaration, Mr. Rayz glosses over his improper post-bankruptcy

      $250,000 demand, made during the automatic stay imposed on May 31, 2018, as a

      “counter-offer” to the Debtors’ $80,000 offer (which he fails to mention was made

      before the bankruptcy filing). Mr. Rayz also does not delve in the Rayz Declaration

      into the nature of threats he made against Debtors during the meeting and the 4-day

      deadline he imposed on the Debtors before the threats would be implemented.

      Those can be gleaned, albeit not fully, from Mr. Rayz’ e-mail response to Debtors’

      counsel included as part of Exhibit A3.



Violation of the Automatic Stay - Argument
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       Automatic stay was imposed under §362 of the Code at the time of Debtors’ filing of their

Petition on May 31, 2018. On June 15, 2018 and thereafter, Mr. Rayz clearly knew about the

bankruptcy filing and therefore was aware of the imposition of the automatic stay. See Exhibit A

and Exhibit A1.

       On June 15-21, 2018, Mr Rayz made arrangements for a face-to-face meeting with counsel

for Debtors, Mr. Nerdinsky. See Exhibit A at ¶7 and Exhibit A1 thereto.

       At the meeting on June 21, 2018, Mr. Rayz made a demand on Debtors in the amount of

$250,000 and set a deadline for the payment of this amount as the following Monday, June 25,

2018. Mr. Rayz further threatened that if Debtors did not comply, he would release damaging

information about them to the US Attorney and the Chapter 7 Trustee. See Exhibit A at ¶¶9-10

and Exhibits A2 and A3.

       When confronted by counsel for Debtors about the impropriety of his actions, Mr. Rayz

further responded that neither he nor his client cared about it. See Exhibit A3 and Exhibit A at ¶16.

However, in the same communications (Exhibit A3), Mr. Rayz explicitly confirms the $250,000

demand he had made on June 21, 2018, the “next Monday” deadline of June 25, 2018, and the

discussion about Debtors’ purported criminal violations during the Payment Demand Meeting.

       What Mr. Rayz claims had happened, using his own words from Exhibit A3, was a meeting

where Mr. Rayz asserted that Debtors purportedly “engaged in criminal misconduct” but that

Vertonix was “willing […] to accept $250,000, provided the matter would be finalized” by next

Monday. This is apparently asserted by Mr. Rayz in Exhibit A3 to have been a benign

communication, when in fact the payment demand and the threat for non-compliance are clear

even from his version of events. It is clear that Mr. Rayz knew exactly what he was doing – he was

trying to make an offer to Debtors that they “could not refuse”.
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       Mr. Rayz’ claims in Exhibit A3 and the Rayz Declaration that his $250,000 demand was

merely a “counteroffer” to an earlier (pre-bankruptcy) proposal by Debtors are irrelevant. Debtors’

Pennsylvania counsel states that she did not call Mr. Rayz. Yet again, even taking Mr. Rayz at his

[false] word, even if such an offer had been made pre-bankruptcy, it is irrelevant. Any pre-

bankruptcy offers and demands are of course made in the context of collection efforts by creditors,

who are free to utilize normal litigation and collection tools to achieve their objectives. This

includes demands, offers, counter-offers, counter-counter-offers etc., all of which are normal part

of collection and litigation – all of which is supposed to stop at the time of bankruptcy. The purpose

of a bankruptcy filing is to draw a bright line between all these happenings and the bankruptcy

proceedings during which the automatic stay is imposed, and no further collection efforts can be

made. This includes “counteroffers”. If this was not so, every creditor could continue collection

under the guise of making “counteroffers” in the context of some prior negotiations or

communications with the debtor, and automatic stay would be meaningless.

       It is also unclear why, if the “counteroffer” and the accompanying mention of Debtors’

purported misdeeds were so benign, they could not simply have been communicated in writing to

Debtors’ counsel, but instead required a personal visit by a Pennsylvania attorney to the office of

Debtors’ counsel in Florida.

       Further exacerbating the gravity of the automatic stay violation are:

               a. Mr. Rayz’ threats to release information that would result in a criminal

                   prosecution of Debtors if they failed to pay the $250,000 by next Monday; and

               b. The fact that the $250,000 being demanded was greater than the amount owed

                   by the Debtors to Vertonix under the latest judgment amount from July 7, 2016;

                   and
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                c. The fact that when confronted about it, Mr. Rayz defiantly stated that he and

                    his client “didn’t care” about the impropriety of their actions.

        Blackmail is a crime under 18 U.S.C. § 873 (“Whoever, under a threat of informing, or as

a consideration for not informing, against any violation of any law of the United States, demands

or receives any money or other valuable thing, shall be fined under this title or imprisoned not

more than one year, or both”). While it is not this court’s prerogative to determine if a crime has

been committed by Mr. Rayz, the indicia of such conduct are clearly present, and this Court has

the power to take this into account in fashioning appropriate sanctions.

        Section 362(k)(1) of the Bankruptcy Code provides redress for violations of the automatic

stay. It mandates that, subject to exceptions not applicable in this case, “an individual injured by

any willful violation of a stay provided by this section shall recover actual damages, including

costs and attorneys’ fees, and, in appropriate circumstances, may recover punitive damages.”4

11 U.S.C. § 362(k)(1). “A debtor alleging a violation of the automatic stay has the burden to

demonstrate, by a preponderance of the evidence, that a violation was willfully committed by the

respondent, and that the debtor suffered damage as a result of the violation.” In re Panek, 402 B.R.

71, 76 (D. Mass. 2009). Proving that a creditor violated the automatic stay means proving that a

creditor had knowledge of either the bankruptcy or the automatic stay when it committed the

violation. In that case, a form of strict liability is created by section 362(h), which only additionally

requires damages to be proved in order to take effect.

        “A violation is willful if a creditor’s conduct was intentional (as distinguished from

inadvertent) and committed with knowledge of the pendency of the bankruptcy case.” Laboy v.

Doral Mortg. Corp. (In re Laboy), 647 F.3d 367, 374 (1st Cir. 2011) (quoting In re McMullen, 386

F.3d 320, 330 (1st Cir. 2004) (internal quotations omitted)). “A willful violation does not require
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a specific intent to violate the automatic stay[,]” rather, the creditor need only intend the act which

violates the stay. Fleet Mortg. Grp. v. Kaneb, 196 F.3d 265, 269 (1st Cir. 1999). A “technical”

violation occurs when the creditor does not have notice of the pendency of the bankruptcy case

and no damages should be awarded for such a violation. See McMullen, 386 F.3d at 330 (finding

“[a]bsent [notice of the bankruptcy] on the part of a creditor, however, the violation is merely

‘technical,’ and no damages are to be awarded”).

       “[A]ctual damages should be awarded only if there is concrete evidence supporting the

award of a definite amount.” Heghmann v. Hafiani (In re Heghmann), 316 B.R. 395, 405 (B.A.P.

1st Cir. 2004). Whether to award punitive damages “is a fact-specific determination subject to

bankruptcy court discretion.” Panek, 402 B.R. at 77

       The unrefutable facts in the present case make clear that Mr. Rayz and Vertonix “willfully”

violated the automatic stay under applicable authority. See McMullen, 386 F.3d at 330; Fleet, 196

F.3d at 268. In McMullen, the First Circuit Court of Appeals limited “technical” violations of the

automatic stay to violations where the creditor acted without notice of the pendency of a

bankruptcy case. 386 F.3d at 330. That is clearly not the case here.

       Having established that Mr. Rayz and Vertonix willfully violated the automatic stay, the

Court must determine an appropriate award of damages under § 362(k), which mandates the award

of actual damages, including attorneys’ fees. See 11 U.S.C. § 362(k). “The burden is on the debtor

to prove by a preponderance of the evidence that [he] suffered damages as a result of the stay

violation.” Heghmann, 316 B.R. at 404–05.

       Debtors are in bankruptcy, with their principal source of income – disability benefits –

temporarily cut off. Their actual damages are minimal, but not zero. Further, they obtained

valuable legal services from Debtors’ counsel, and while they are unable to pay them, it should not
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absolve Mr. Rayz and Vertonix of their liability for the full fair value of legal services provided to

Debtors. In this case, Debtors has suffered the following actual damages and attorneys’ fees:

   (1) Debtor Yuri Lyubarsky suffered from a psychiatric condition, known as severe panic

       disorder, that was so serious that it had caused Mr. Lyubarsky to be declared disabled and

       required multiple hospitalizations over the years, and a regular medication regimen. The

       violation of the automatic exacerbated Mr. Lyubarsky’s condition and increased the

       frequency of the most severe panic attacks. See Exhibit C, ¶¶35-39, ¶46. While Medicare

       covered Mr. Lyubarsky’s medical help, he incurred actual expenditures amount to $20

       resulting from the increased incidence of severe panic attacks. See Exhibit C, ¶¶36-37, ¶46.

   (2) Debtors incurred a liability for legal costs of in preparing this motion. While Debtors’

       counsel was retained on minimal fixed-fee terms and is presently unable to bill Debtors for

       preparing this Motion from Debtors, it is requested that the court allows such billing, and

       that Mr. Rayz be ordered to pay Debtors’ counsel fees and costs in preparing and

       prosecuting this Motion. It is further requested that the court allows the billing for the cost

       of preparing the Objection, which should have been unnecessary had Vertonix acted

       honestly when filing their POC and disclosed the $175,000 payment and the Revised

       Judgment (the amount of which Debtors would have accepted, and do hereby accept as the

       appropriate amount of Vertonix’s claim).

       Punitive Damages

       In addition, and principally, Debtors seek an award of punitive damages. The Court must

award such damages recognizing that “[p]unitive damages should be awarded in an amount

sufficient to serve their purpose of deterrence . . . and must be tailored not only based upon the

egregiousness of the violation, but also based upon the particular creditor in violation.” Panek, 402
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B.R. at 77 (quoting In re Curtis, 322 B.R. 470, 486 (Bankr. D. Mass. 2005)). Courts have found

circumstances where parties arrogantly defy the Bankruptcy Code to be most appropriate for the

award of punitive damages. See id.

       In this case, the actions of Mr. Rayz and Vertonix were egregious and defiant of the

Bankruptcy Code. The extreme conduct and allegations caused the Debtor severe emotional

distress and, compounding the injury after being informed of their abuse, the culprit (Mr. Rayz)

stated that he and his client did not care rather than apologize for the violations and take steps to

remedy their abuses.

       The conduct here was far more egregious than that in the case where a $250,000 punitive

damage award was entered against a mortgage lender, Nationstar Mortgage ("Nationstar") for,

among other failings, filing an erroneous transfer of claim in a debtors' bankruptcy proceeding.

See In re Mocella, 2016 Bankr. LEXIS 2472 (Bankr. N.D. Ohio June 15, 2016).

       The amount Mr. Rayz and Vertonix attempted to collect, at $250,000, is also very

significant. The threat being made against Debtors if they do not pay up, was very significant. And

the person making these demands and threats – a prominent, very experienced and extremely

talented attorney acting on behalf of a wealthy client (who can afford to pay legal fees for many

years while collecting nothing).

       There are no mistakes here, no mitigating factors or excuses. This was a willful, deliberate,

outrageous and borderline criminal (or actually criminal) violation of the automatic stay and

Debtors’ rights.

       It is suggested that a punitive damages award against Mr. Rayz and Vertonix should be

calculated in reference to the $250,000 they were trying to extort from Debtors in willful violation

of the automatic stay, that it be awarded as a reasonable multiple thereof, to provide a sturdy
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deterrence to others who may ever consider harassing debtors in such an egregious manner. An

award of this magnitude is just and fair in the circumstances of this case.

       Filing a Fraudulent Proof of Claim, Fraud on the Court

       Mr. Rayz filed a $400,000 proof of claim on behalf of Vertonix and personally verified it

under oath. In the 88-page POC package Mr. Rayz included only a 2011 judgment for $184,264.19,

but withheld a much later 2016 ruling setting the amount at the lower $141,102.71 amount. He

also failed to include any mention of an intervening $175,000 payment by Debtors.

       When confronted through the Debtors’ objection, Mr. Rayz, acting both as an attorney and

an agent of Vertonix (who verified the Response on behalf of Vertonix), committed fraud on this

Court by producing a bogus calculation containing $96,800 in sanctions which Mr. Rayz knew

had already been denied by the Pennsylvania court. While including the $96,800, Mr. Rayz

purposefully withheld a document, his own motion dated May 3, 2016, containing proof that his

prior attempt to obtain such sanctions, in the amount of $135,300, was denied by the Pennsylvania

court on July 7, 2016.

       As such, the claim by Vertonix, in a significant part, was submitted fraudulently. Mr. Rayz

substituted greed and blatant disregard to the truth for the duties of an officer of the court. The

doctrine of falsus in uno, falsus in omnibus, should apply.

       The filing of a false proof of claim in a bankruptcy case is a crime under 18 U.S.C. § 152(4).

Although the federal criminal statute prohibiting the falsifying of a proof of claim does not provide

a party with a civil right of action, a bankruptcy court is empowered by 11 U.S.C. § 105(a) to

“issue any order, process, or judgment that is necessary or appropriate to carry out the provisions

of this title.” The statute specifically allows a bankruptcy court to take “any action . . . necessary

or appropriate . . . to prevent an abuse of process.” Id.; see also Marrama v. Citizens Bank of Mass
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549 U.S. 365, 375 (2007) (noting that bankruptcy courts have “broad authority” under § 105(a)).

When a creditor files a false or fraudulent proof of claim, that filing contravenes the purpose of a

specific bankruptcy statute and rule. Namely, under 11 U.S.C. § 501, a creditor is allowed to file

a proof of claim, and under § 502(a), the mere filing of a proof of claim means that it is deemed

allowed. Under Fed. R. Bankr. P. 3001(f), a proof of claim filed in accordance with the Bankruptcy

Rules constitutes prima facie evidence of the validity and amount of the claim. When a creditor

files a false or fraudulent proof of claim, which is deemed allowed by § 502(a), and entitled to

prima facie presumption of validity and amount by Rule 3001(f), the creditor is abusing the

bankruptcy process. E.g., Campbell v. Countrywide Home Loans, Inc., 545 F.3d 348, 356 n.1 (5

Cir. 2008) (noting that the bankruptcy court may use § 105 to impose sanctions on parties that

abuse the procedural mechanism related to the filing of a proof of claim); B-Real, LLC v. Chaussee

(In re Chaussee), 399 B.R. 225, 241 (B.A.P. 9 Cir. 2008) (“[I]f a purported creditor abuses the

claims process, we are confident that § 105(a) provides an effective mechanism for addressing that

misconduct.”); Rojas v. Citi Corp Trust Bank FSB (In re Rojas), No. 09-7003, 2009 Bankr. LEXIS

2220 at *27 (Bankr. S.D. Tex. Aug 12, 2009) (holding that § 105(a) may be used in support of §

502 and Rule 3001 to hold a creditor in contempt for filing a false proof of claim); In re Varona,

388 B.R. 705, 717 (Bankr. E.D. Va. 2008) “[Section] 105 may be used to sanction the filing of a

proof of claim violative of the Bankruptcy Code . . . The filing of a false or fraudulent claim would

unquestionably constitute an abuse of the claims process as well as an attempted fraud upon the

court.”).

        Mr. Rayz’ misrepresentations to this Court did not stop with the amount and proof of the

claim itself. In the Response to Debtors’ Objection, Mr. Rayz plays fast and loose with evidence,

such as grossly misquoting Debtors’ affidavit (and calling Debtor Yuri Lyubarsky a liar on the
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basis of the false quote) or including a 14-year old picture to demonstrate Debtors’ purported

current wealth – while purposefully cropping out a part of the picture containing a clock with large

numbers showing that the picture was taken at a 2005 New Year’s party. See Exhibit C, which

must be read in its entirety to recognize the gravity of Mr. Rayz’ violations and the devastating

effect they have had on Debtors. Exhibit C is a desperate cry for help which speaks for itself, and

this counsel suggests a full reading of it before a ruling on this Motion for Sanctions.

        Request for Sanctions – Fraud on the Court

        Bankruptcy Court is a court of equity. Dismissing a creditor’s claim is an equitable remedy,

and this Court has the power to award it. In circumstances when the creditor has purposefully

withheld information and committed fraud on the court by providing partially fraudulent

information as part of a larger claim, the court has the power to invoke the falsus in uno, falsus in

omnibus maxim and dismiss the entire claim. Had Mr. Rayz and Vertonix succeeded in their effort

to inflate their claim, it would be to the detriment of other creditors, who would have received a

smaller share of the available and distributable proceeds from the estate. Accordingly, an

appropriate remedy could be a dismissal of the entire Vertonix claim (which would punish

Vertonix and benefit Vertonix’s potential victims), and/or an award of sanctions against Vertonix

in favor of the estate.

        Additional sanctions for in favor of Debtors are also requested.

        Request for Sanctions – Violation of the Automatic Stay

        Under Rule 9011 the Court can also impose sanctions against anyone violating the

automatic stay, particularly a creditor’s attorney. Attorneys are held to a higher standard since they

are doubtless fully aware of the rules of automatic stay. Mr. Rayz’ actions described above are

outrageous, and require proper action to punish him, provide Debtors with relief for their undue
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suffering, and to deter others from future violations of the automatic stay, particularly such

egregious violations as those committed by Mr. Rayz. The present request for sanctions against

Mr. Rayz and his client Vertonix Ltd for their willful and egregious violation of the automatic stay

is the principal request of this Motion.

       Finally, sanctions for the violation of the automatic stay can also be imposed in favor of

the estate. The improper demand made by Mr. Rayz and Vertonix on Debtors, had succeeded (i.e.

if hypothetically Debtors had funds available to them, and had they succumbed to the threat and

paid these funds Vertonix), would have siphoned money away from the estate, since all of Debtors

non-exempt assets belonged to the estate after Debtors filed their Petition.

       Accordingly, Debtors request that this Court impose sanctions it deems appropriate against

Vertonix and Mr. Rayz for the above-described violation of the automatic stay and fraud on this

Court. Debtors suggest the following sanctions:

       1. The dismissal of the entire Vertonix claim (falsus in uno, falsus in omnibus);

       2. Post-bankruptcy monetary sanction against Mr. Rayz and Vertonix in favor of Debtors;

       3. Monetary sanctions against Mr. Rayz and Vertonix in favor of the bankruptcy estate;

       4. Revocation of Mr. Rayz’ pro hac vice admission to practice in this case and referral to

           the Professional Ethics Committee of The Pennsylvania Bar for further proceedings.

       The Court may also, in its own discretion, refer this case to the US Attorney’s Office for

further proceedings to determine if Mr. Rayz violated 18 U.S.C. § 873.



Dated March 4, 2019

                                               /s/ Leonid Nerdinsky
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I CERTIFY that a true and correct copy of the foregoing was served via Notice of Electronic
Filing (CM/ECF) on this 4th day of March 2019, upon all registered users in this case.
